Case 2:04-Cr-20400-BBD Document 50 Filed 08/10/05 Page 1 of 2 Page|D 48

 

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FoR THE WESTERN DISTRICT oF TENNESSEE 0
WESTERN DIVISION 5 AUG 10 AH 10= 17
'WM MGOU.D

UNITED STATES oF AMERICA, W Ujs § S§F§§§HCLCSIRT

Plaimiff,
vs. Cr. No. 04-20400-D
cLYDE ARMSTEAD,

Defendant.

 

ORDER GRANT]NG MOTION TO CONTINUE SENTENCING HEARING

 

IT APPEARlNG TO THIS COURT, THAT, upon the filed motion of the Defendant, there

being good cause shown, that the motion of the Defendant is Well-taken, and should be granted. The

sentencing hearing set for August 15 at 1230 PM is reset until@¢j“¢,¢{¢&_mgi@ 4 130 F' "" .

IT IS SO ORDERED

 

DIST ' COUR'I` JUDGE

DATE:@.{f../& 2 010 d J/

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Honorable Bernice Donald
US DISTRICT COURT

